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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                          TALLAHASSEE DIVISION

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G.H., et al.,

                     Plaintiffs,
                                           Case No.: 4:19-cv-431-RH/MJF
v.

DEPARTMENT OF JUVENILE
JUSTICE and SECRETARY OF
THE DEPARTMENT OF
JUVENILE JUSTICE,

               Defendants.
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NOTICE OF APPEARANCE AS CO-COUNSEL FOR REBECCA KLONEL

       PLEASE TAKE NOTICE that the undersigned counsel, Rebecca Klonel,

hereby appears in this action as co-counsel of record for the named Plaintiffs, G.H.,

R.L., and the class. Undersigned counsel respectfully requests inclusion on the

party’s service list in this matter.

Dated: July 13, 2022                   Respectfully submitted,

                                       By:      s/ Rebecca Klonel
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                             Attorney for Plaintiffs




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